    Case 2:22-cr-00135-CW Document 8 Filed 07/19/22 PageID.25 Page 1 of 3
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                                                                      2022 JUL 19 PM 1:41
                                                                            CLERK
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                      IN THE UNITED STATES DISTRICT COURT



 Plaintiff,                                    Case No.:
 United States Government                      D.C 21-cr-280-T JK,
                                               Utah 2-22CR 135

 vs.

 Defendant( s ),                               Judge:
 Michael Lee Hardin                            Clark Waddoups




                             FOR THE DISTRICT OF UTAH




                  MOTION TO HAVE PROBATION TERMINATED




      Your Honor, I, Michael Lee Hardin, request that the court hears my appeal for
termination of probation and all terms along with it for the following reasons listed below:

   1. House arrest 30 days completed, fine paid immediately, community service
      completed 60+ hours and negative drug screening.
   2. Your Honor, I believe , I have the support from the U.S Probation Office to end
      this probation term as well. Agent Derrik Marshall and Supervisor Agent Anthony
Case 2:22-cr-00135-CW Document 8 Filed 07/19/22 PageID.26 Page 2 of 3



   Maxwell, they both agree that it would be in the best interest of all to end this
   probation term. Both state that this case is such a low priority that it really does
   not warrant the resources to follow up no less than 6 months at a time for any
   type of reporting. To me, this seems to be an unnecessary drain on government
   resources and could be used for higher priorities.
3. On the other hand, I think that the prosecution would disagree with ending the
   probation , but merely for political reasons and not practical reasons or what's in
   the best interest of all involved parties. This is merely based on my prior
   personal experience surrounding my case and specifically the totality of January
   6th 2021 as a whole. I would hope with a true heart, maybe they may see that I
   have paid my dues, I am not a threat and overall it would be in the best interest
   of everyone moving forward. It would allow me to fully concentrate on my family
   and career moving forward.
4. As you may be aware, this incident that occurred on January 6th 2021 has
   polarized the nation in so many ways , good and bad, mostly bad. However, we
   must take a step back and view what has occurred in how it relates to fairness of
   the law, precedents and current events. Your Honor, I will not never minimize
   my wrong doing of entering the U.S Capitol and ultimately taking a picture with
   President Lincoln. It was a poor decision on my part. I just don't think it to be fair
   for the US Government to keep continuing to upend mine and my family's life by
   having me on probation for "just."
5. Your Honor, I am a good man with a great family and support system. We have
   6 children and 3 grandchildren , which I adore. I ask that I be free from the
   bindings on the government. I certainly realize more than I can put into words
   that I should not have walked into the US Capitol on January 6th 2021, Lord
   knows my family and I have paid a tremendous burden in so many ways for that
   decision. Keep in mind, without an ounce of malice while present on the entire
   trip to Washington D.C. Honestly, I consider myself a true Patriot that cares
   about this country and is deeply concerned for our kids and grandchildren.
6. Your Honor, I don't have a criminal record other than this incident, nothing. I
   have excellent credit, I pay my bills and I am certainly responsible in all aspects
   of my life.
7. I would love to have my rights restored, be free to travel without assistance or
   permission , be free to possess firearms, and be free to move as we may want to
   in the near future. My family and I are exploring moving to a different state as we
   are concerned for the future resources that Utah offers. Your Honor, not now, nor
   will I ever be any kind of threat to anyone. It's not in my make up.
8. Your Honor, the biggest burden that has lied with me in regards to this case has
   been the stress and heartache that it has caused my family. Secondly, what it
   Case 2:22-cr-00135-CW Document 8 Filed 07/19/22 PageID.27 Page 3 of 3



      has done to my reputation within the law enforcement community, wh ich is where
      my heart is and will always be.
   9. I would like to be employed within law enforcement again in some capacity,
      although I cannot do it under the current conditions of being on probation and not
         being allowed to possess a fi rearm. I served over 20 years with the Salt lake City
       police department with a stellar career and received many accolades , service
       medals and officer of the yea r. Helped thousands of people along the way and
       loved it. Most of my career I was assigned to detectives and worked on a lot of
       rather unpleasant cases. This is where true community service comes into play
       and I would like to do it again . My goal is to work homicide again and specifically
       cold cases, which I worked fo r many years. This is a taxing task for so many
       reasons , but in the end it is worth it. My family knows how much it means to me
       to be able to work for the unspoken. This is where my passion lies. I certainly
       don't know if this is possible again, I think so. I would like the opportunity to
       follow my heart.
   10. Your Honor, I appreciate you taking the time to review my plea for the termination
       of my probation. Just know, my intentions are pure and I am going to put my
       best foot forward for my famil y, myself and society.



DATED :      7 -/    tf -· 2...   0   '2- Z


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